Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 1 of 29 Page ID #:161



  1
      MATTHEW M. LAVIN, ESQ. (pro hac vice)
  2   JENNIFER A. LIAKOS, ESQ. (CA SBN 207487)
      NAPOLI SHKOLNIK PLLC
  3
      5757 W. Century Boulevard, Suite 680
  4   Los Angeles, CA 90045
  5
      (212) 397-1000 / Fax (646) 843-7603
  6
      JOHN W. TOWER, ESQ. SBN 106425
  7   LAW OFFICE OF JOHN W. TOWER
      2211 Encinitas Blvd., 2nd Floor
  8
      Encinitas, CA 92024
  9   (760) 436-5589 / Fax (760) 479-0570
 10
      Attorneys for Plaintiff
 11   Bristol SL Holdings, Inc.
 12

 13                               UNITED STATES DISTRICT COURT
 14                            CENTRAL DISTRICT OF CALIFORNIA
 15                                   SOUTHERN DIVISION
 16   BRISTOL SL HOLDINGS, INC., a               ) Case No.: 8:19-cv-00709-AG-ADS
      California corporation, in its capacity as )
 17
      the assignee for SURE HAVEN, INC., a ) MEMORANDUM OF POINTS AND
 18   California corporation                     ) AUTHORITIES OF PLAINTIFF
                                                 ) BRISTOL SL HOLDINGS INC. IN
 19                                              ) OPPOSITION TO MOTION TO
                   Plaintiff,                    )
 20          vs.                                 ) DISMISS
 21
                                                 )
      CIGNA HEALTH AND LIFE                      ) Date: July 22, 2019
 22
      INSURANCE COMPANY, a                       ) Time: 10:00 a.m.
      Connecticut corporation; CIGNA             )
 23
                                                 ) Judge: Hon. Andrew J. Guilford
      BEHAVIORAL HEALTH, INC., a                 ) Dept: Courtroom 10D
 24
      Connecticut corporation; and DOES 1        )
 25   through 10, inclusive,                     )
 26
                                                 )
                   Defendants.                   )
 27

 28




                                                                  -i-
         __________________________________________________________________________________________________
           Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 2 of 29 Page ID #:162



  1
                                              TABLE OF CONTENTS
  2

  3
      TABLE OF CONTENTS................................................................................................ ii
  4
      TABLE OF AUTHORITIES .........................................................................................iii
  5
      I. INTRODUCTORY STATEMENT. ........................................................................... 1
  6

  7   II. STATEMENT OF RELEVANT FACTS ................................................................. 1
  8   III. LEGAL STANDARD.............................................................................................. 3
  9
      IV. THE COMPLAINT STATES A VALID CLAIM FOR ERISA BENEFITS ......... 3
 10
      V. THE FRAUD-BASED CLAIMS ARE PROPERLY PLEAD ................................. 9
 11

 12
      VI. THE NEGLIGENT NONDISCLOSURE CLAIM IS APPROPRIATE ............... 11
 13   VII. THE PROMISSORY ESTOPPEL CLAIM IS LEGALLY SUFFICIENT ......... 11
 14
      VIII. THE CLAIM FOR UNFAIR BUSINESS PRACTICES IS VALID. ................ 12
 15
      IX. THE BREACH OF CONTRACT CLAIMS STATE VALID CLAIMS. .............. 15
 16
      X. THE BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
 17
      DEALING CLAIM IS VALID ..................................................................................... 18
 18

 19   XI. THE QUANTUM MERUIT CLAIM IS VALID.................................................. 19
 20   XII. THE STATE LAW CLAIMS ARE NOT PREEMPTED BY ERISA ................ 20
 21
      XIII. PLAINTIFF SHOULD BE GRANTED LEAVE TO AMEND......................... 23
 22
      XIV. CONCLUSION.................................................................................................. 23
 23

 24

 25

 26

 27

 28




                                                                   - ii -
           __________________________________________________________________________________________________
             Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 3 of 29 Page ID #:163



  1
                                                 TABLE OF AUTHORITIES
  2
      Cases
  3
      Aetna Health Inc. v. Davila, 542 U.S. 200, 210 (2004) ............................................... 21
  4
      Allergan Inc. v. Athena Cosmetics Inc. (Fed. Cir 2011) 640 F3d. 1377 ...................... 14
  5
      Almont Ambulatory Surgery Ctr., LLC v. UnitedHealth Grp., Inc., 99 F. Supp. 3d
  6
        1110, 1155 (C.D. Cal. 2015) .................................................................................... 6, 8
  7
      Amalgamated Transit Union, Local 1756, AFL-CIO v. Superior Court, 46 Cal. 4th
  8
        993, 1002 (2009) ........................................................................................................ 14
  9
      Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) ................................................................... 3
 10
      Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)................................................... 3
 11
      Blue Cross of California v. Anesthesia Care Associates Medical Group, Inc., 187 F.3d
 12
        1045 (9th Cir.1999) .................................................................................................... 22
 13
      Blue Cross of California v. Anesthesia Care Assocs. Med. Grp., Inc., 187 F.3d 1045,
 14
        1052 (9th Cir. 1999) ............................................................................................... 5, 20
 15
      Bly-Magee v. California, 236 F.3d 1014, 1018 (9th Cir. 2001) ..................................... 9
 16
      Brandt v. Superior Court (1985) 37 Cal. 3d 813 .......................................................... 19
 17
      Catholic Healthcare W.-Bay Area v. Seafarers Health & Benefits Plan, 321 F. App'x
 18
        563, 564 (9th Cir. 2008) ..................................................................................... 5, 6, 20
 19
      Cortez v. Purolator Air Filtration Products Co. (2000) 23 Cal 4th 163 ...................... 15
 20
      DaVita, Inc. v. Amy's Kitchen, Inc., No. 18-CV-06975-JST, 2019 WL 1509186, at *4
 21
        (N.D. Cal. Apr. 5, 2019)............................................................................................... 6
 22
      Earhart v. William Low Co., 25 Cal. 3d 503, 510 (1979) ............................................ 20
 23
      Encompass Office Sols., Inc. v. Ingenix, Inc., 775 F. Supp. 2d 938, 947 (E.D. Tex.
 24
        2011) ............................................................................................................................. 8
 25
      Enloe Med. Ctr. v. Principal Life Ins. Co., No. CIV S-10-2227 KJM-DAD, 2011 WL
 26
        6396517 at *6 (E.D. Cal. Dec. 20, 2011) ............................................................. 12, 16
 27
      Fleet v. Bank of Am N.A., (2014) 229 Cal App 4th 1403 .............................................. 12
 28




                                                                   - iii -
           __________________________________________________________________________________________________
             Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 4 of 29 Page ID #:164



  1
      Forest Ambulatory Surgical Assocs., L.P. v. United HealthCare Ins. Co., 2011 WL
  2
        2748724 (N.D. Cal. July 13, 2011) .............................................................................. 6
  3
      Ghirardo v. Antonioli, 14 Cal. 4th 39, 51 (1996) ......................................................... 20
  4
      Goodwest Rubber Corp. v. Munoz (1985) 170 Cal. App. 3d 919 ................................ 17
  5
      Hansen v. Grp. Health Coop., 902 F.3d 1051, 1059 (9th Cir. 2018) ..................... 21, 22
  6
      Huskinson & Brown, LLP v. Wolf, 32 Cal. 4th 453, 458 (2004) .................................. 19
  7
      In re Managed Care Litigation, 2009 WL 742678 at *3 (S.D.Fla. Mar.20, 2009) ........ 8
  8
      Kajima/Ray Wilson v. L.A. Cnty. Metro. Transp. Auth., 23 Cal. 4th 305, 310 (2000) . 12
  9
      Love v. Fire Insurance Exchange (1990) 221 Cal.App.3d 1136, 1151 ........................ 19
 10
      Maglica v. Maglica, 66 Cal. App. 4th 442, 449 (1998), as modified on denial of reh’g,
 11
        (Sept. 28, 1998) .......................................................................................................... 20
 12
      Manzarek v. St. Paul Fire &Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008) ..... 3
 13
      Marin Gen. Hosp. v. Modesto & Empire Traction Co., 581 F.3d 941 (9th Cir. 2009) 22
 14
      Marin Gen. Hosp. v. Modesto & Empire Traction Co., 581 F.3d 941, 948 (9th Cir.
 15
        2009). .......................................................................................................................... 22
 16
      McBridev. Boughton, 123 Cal. App. 4th 379, 389 (2004)............................................ 20
 17
      McKell v. Washington Mut. Inc. (2006) 142 Cal. App. 4th 1457................................. 13
 18
      Morgan v. AT&T Wireless Servs., Inc., 177 Cal. App. 4th 1235, 1254 (2009) ........... 13
 19
      Murphy v. California Physicians Serv., 213 F. Supp. 3d 1238, 1246 (N.D. Cal. 2016)
 20
        .................................................................................................................................... 21
 21
      Orthopedic Specialists of Southern California v. CALPERS 228 Cal.App.4th 644
 22
        (2014) ................................................................................................................... 16, 17
 23
      Pacific Bay Recovery, Inc. v. California Physicians Services, Inc. (2017) 12 Cal.App.
 24
        5th 200 ................................................................................................................... 16, 17
 25
      Port Med. Wellness, Inc. v. Connecticut Gen. Life Ins. Co., 233 Cal. Rptr. 3d 830,
 26
        848–49 (Ct. App. 2018).......................................................................................... 5, 21
 27
      Regents of the Univ. of Cal. v. Principal Fin. Grp., 412 F. Supp. 2d 1037, 1042 (N.D.
 28
        Cal. 2006) ............................................................................................................. 12, 16


                                                                   - iv -
           __________________________________________________________________________________________________
             Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 5 of 29 Page ID #:165



  1
      Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985) ............................................... 9
  2
      Simi Surgical Ctr., Inc v. Connecticut Gen. Life Ins. Co., 2018 WL 6332285 (C.D.
  3
        Cal. Jan. 4, 2018) .......................................................................................................... 6
  4
      SocialApps, LLC v. Zynga, Inc., 2012 WL 381216, at *3 (N.D. Cal. Feb. 6, 2012) .... 18
  5
      Tenet Healthsystem Desert, Inc. v. Blue Cross of California (2016) 245 CA4th 821 . 10
  6
      The Meadows vs. Employers Health Ins., 47 F.3d 1006, 1010 (9th Cir. 1995) ........... 22
  7
      Vess v.Ciba-Geigy Corp. USA, 317 F. 3d 1097, 1106 (9th Cir. 2003)......................... 11
  8
      Youngman v. Nevada Irrigation Dist., 70 Cal. 2d 240, 249 (1969) ............................. 12
  9
      Statutes
 10
      29 U.S.C. § 1132(a)(1)(B) ................................................................................ 3, 5, 6, 21
 11
      Business and Professions Code §§ 17200, et seq. ........................................................ 12
 12
      California Civil Code section 1611 .............................................................................. 17
 13
      California Health & Safety Code section 1371.8 ......................................................... 13
 14
      California Health & Safety Code section 1374.72 ....................................................... 13
 15
      California Insurance Code section 10144.5 .................................................................. 13
 16

 17
      Other Authorities
 18
      See 29 C.F.R. § 2560.503-1(l)(i) (2018)......................................................................... 9
 19   Rules
 20   Fed R. Civ. P. 8(a) .......................................................................................................... 3
 21   Fed. R. Civ. P. 12(b)(6) .................................................................................................. 3
 22   Fed.R. Civ. P. 8(d) ........................................................................................................ 18
 23   Federal Rule of Civil Procedure 9(b).............................................................................. 9
 24   Leadsinger, Inc. v. BMG Music Publ’g, 512 F.3d 522, 532 (9th Cir. 2008) ................ 23
 25   Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000) ................................................... 23
 26   Rule 15(a)...................................................................................................................... 23
 27

 28




                                                                     -v-
            __________________________________________________________________________________________________
              Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 6 of 29 Page ID #:166



  1
                                    I. INTRODUCTORY STATEMENT.
  2
             This is a collection action for unpaid insurance benefits. The claims at issue have
  3
      not been denied. As shown by the Tolling Agreement referenced in the Complaint at
  4
      paragraph 4, the Parties have been attempting to resolve this matter themselves for a
  5
      year. These efforts have been unsuccessful, necessitating this suit.
  6
             Plaintiff, BRISTOL SL HOLDINGS, INC. (“BRISTOL”) is the successor in
  7
      interest to a nationally accredited substance abuse treatment center, SURE HAVEN,
  8
      INC. (“SURE HAVEN”), that filed for Chapter 11 bankruptcy protection in 2017.
  9
      SURE HAVEN was part of a network that oversaw over 320 patient beds and employed
 10
      hundreds of workers. That network closed due to collection issues with insurance
 11
      companies including Defendant, CIGNA HEALTH AND LIFE INSURANCE
 12
      COMPANY, CIGNA BEHAVIORAL HEALTH, INC., and DOES 1 through 10,
 13
      inclusive (“CIGNA”).
 14
             In the midst of a national public health emergency, the opioid epidemic, CIGNA
 15
      has stopped paying behavioral health and substance abuse treatment claims, effectively
 16
      running providers out of business at a time when they are desperately needed.
 17
                               II. STATEMENT OF RELEVANT FACTS
 18
             This lawsuit is for CIGNA’s nonpayment of inpatient residential and outpatient
 19
      substance abuse treatment services provided by SURE HAVEN, INC. (“SURE
 20
      HAVEN”). These services were approved and authorized by CIGNA. Following SURE
 21
      HAVEN’s bankruptcy, BRISTOL acquired the right to bring SURE HAVEN’s claims
 22
      and brings this action for the benefit of the creditors of SURE HAVEN’s estate.
 23
             It is well documented that the services provided by SURE HAVEN were
 24
      authorized by CIGNA. Prior to accepting patients for treatment, SURE HAVEN
 25
      undertook a rigorous intake procedure that included verifying patients’ insurance
 26
      coverage and determining what CIGNA’s rate of payment prior to admitting an
 27
      individual for treatment. SURE HAVEN, as an out-of-network provider, relied on this
 28




                                                                   -1-
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 7 of 29 Page ID #:167



  1
      information to make admission determinations. Without CIGNA’s assurances Plaintiff
  2
      would not have admitted any CIGNA patients for treatment.
  3
             In these pre-admission conversations and in frequent utilization review and/or
  4
      service authorization calls, CIGNA specified the number of days of treatment covered
  5
      by its policy and the stated rate of payment. The stated rate was consistently a specific
  6
      percentage of the usual, customary and reasonable rate (“UCR”). This is often referred
  7
      to as the “allowed amount.” In California, the Healthcare.gov website defines UCR as
  8
      “[t] he amount paid for a medical service in a geographic area based on what providers
  9
      in the area usually charge for the same or similar medical service.”
 10
             Despite this thorough process, CIGNA did not pay SURE HAVEN’s claims even
 11
      though up until this time and for years prior, SURE HAVEN had a regular and
 12
      consistent course of dealing with CIGNA where they paid a rate equal to approximately
 13
      70% of the fully billed amount as the correct percentage of UCR. SURE HAVEN relied
 14
      upon all of this in making patient admittance and other business decisions.
 15
             Since the effective date of the Tolling Agreement in June 2018, Plaintiff has
 16
      provided Defendant with voluminous amounts of records detailing the claims at issue
 17
      here and the services provided for each claim are identified, again, in Exhibit C to
 18
      Plaintiffs’ Complaint. Yet, Cigna, a highly sophisticated corporation responsible for
 19
      maintaining health care information to tens of millions of individuals, would have the
 20
      Court believe that it has no understanding or record of millions of dollars in claims
 21
      submitted to it by SURE HAVEN. Exhibit C lists every single claim at issue and uses
 22
      standard industry terms in identifying and specifying the claims at issue.
 23
             Plaintiff’s causes of action are brought on its own behalf under applicable and
 24
      well-established state law and common law theories. Additional causes of action
 25
      (1:ERISA, 11: Breach of Written Contract, and 12: Bad Faith, brought as an assignee
 26
      of patients’ benefits are pleadings in the alternative as permitted by Fed. R. Civ. P. 8(d).
 27
      Under each theory, Plaintiff is entitled to, at a minimum, full reimbursement for the
 28
      claims submitted to but never paid by CIGNA.


                                                                   -2-
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 8 of 29 Page ID #:168



  1
             Plaintiff has properly plead and supported each of the claims asserted in the
  2
      Complaint and the state law claims asserted by Plaintiff are not preempted by ERISA.
  3
      As such, Defendant’s motion should be denied.
  4
                                            III. LEGAL STANDARD
  5
             A complaint must include “a short and plain statement of the claim showing that
  6
      the pleader is entitled to relief.” Fed R. Civ. P. 8(a). A complaint that fails to meet this
  7
      standard may be dismissed under Rule 12(b)(6). Plaintiffs are required to plead “enough
  8
      facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,
  9
      550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads
 10
      factual content that allows the court to draw the reasonable inference that the defendant
 11
      is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The
 12
      plausibility standard is not akin to a probability requirement, but it asks for more than a
 13
      sheer possibility that a defendant has acted unlawfully.” Id. (internal quotation marks
 14
      omitted). For purposes of ruling on a Rule 12(b)(6) motion, the Court “accept[s] factual
 15
      allegations in the complaint as true and construe[s] the pleadings in the light most
 16
      favorable to the nonmoving party.” Manzarek v. St. Paul Fire &Marine Ins. Co., 519
 17
      F.3d 1025, 1031 (9th Cir. 2008). All of these requirements are met.
 18
       IV. THE COMPLAINT STATES A VALID CLAIM FOR ERISA BENEFITS
 19
             Plaintiff’s Complaint states a valid claim for benefits under 29 U.S.C. §
 20
      1132(a)(1)(B) (Plaintiff’s ERISA Claim). The Defendants’ Fed. R. Civ. P. 12(b)(6)
 21
      argument for dismissal of this claim lacks merit and sufficient legal support.
 22
             Defendants’ first argument, that “Bristol fails to allege the existence of plans that
 23
      govern the patients at issue or any of the terms of those purported plans” (Def. Mot. Ln.
 24
      16-17) is untrue.
 25
             Defendants’ second argument, that “Bristol also fails to allege compliance with
 26
      these alleged ERISA plans, including without limitation, exhaustion of administrative
 27
      remedies” (Def. Mot. Ln. 17-19) again misreads the complaint, misapplies the
 28
      applicable law, and lacks merit.


                                                                   -3-
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 9 of 29 Page ID #:169



  1
             Plaintiff’s Complaint asserts that “most of the claims at issue are subject to
  2
      ERISA.” (¶19) Most employer group health plans in the United States are self-funded
  3
      and therefore subject to ERISA. According to the Department of Labor, during the plan
  4
      years relevant here, there were “2.2 million ERISA-covered health plans covering
  5
      approximately 136 million people.1” The Henry J. Kaiser Foundation, a leading
  6
      authority on the subject, has found that for the applicable years, 61% of all persons
  7
      covered by commercial health insurance were members of self-funded, or ERISA
  8
      covered, plans.2 Therefore, that many, if not most, of the plans at issue here are ERISA
  9
      plans. The findings of these reports are commonly accepted facts within the healthcare
 10
      industry and well understood by issuers of ERISA plans like CIGNA.
 11
             SURE HAVEN, as a healthcare provider, was not a CIGNA plan member and
 12
      not in possession of individual health plans of its patients. Instead, it verified the
 13
      existence of and received confirmation for the relevant plan terms for patients from
 14
      CIGNA through VOB calls and routine service authorizations. SURE HAVEN was not
 15
      privy to the specific language contained in those plans, nor was it expected to be. As
 16
      such, BRISTOL cannot say with absolute certainty which patients’ plans are subject to
 17
      ERISA; however, CIGNA, , as the issuer and administrator of the plans, has this
 18
      knowledge and has never shared any of this information with BRISTOL.
 19
             CIGNA also fundamentally misconstrues the civil enforcement provision of
 20
      ERISA. ERISA’s civil enforcement provision provides that a civil action may be
 21
      brought “by a participant or beneficiary” to “recover benefits due to him under the terms
 22
      of his plan, to enforce his rights under the terms of the plan, or to clarify his rights to
 23
      future benefits under the terms of the plan.” 29 U.S.C. § 1132(a)(1)(B)
 24

 25

 26
      1U.S. Dept. of Labor, Annual Report to Congress on Self-Insured Group Health
      Plans (2018)
 27
      2 Henry J. Kaiser Family Foundation, 2016 Employer Health Benefits Survey, kff.org
 28
      (Sep. 14, 2016) https://www.kff.org/report-section/ehbs-2016-section-ten-plan-
      funding/

                                                                   -4-
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 10 of 29 Page ID #:170



  1
             Plaintiff’s Complaint alleges, “[u]pon admittance to one of Plaintiff’s treatment
  2
      facilities, all patients, including the patients whose claims are the subject of this
  3
      lawsuit, assigned payment of their insurance benefits to Plaintiff and also appointed
  4
      Plaintiff as their Authorized Representative for ERISA and other claims.” (Compl.
  5
      ¶7, emphasis added). Further, all of the claims at issue in the present Complaint are
  6
      those for which Defendant “refused to pay Plaintiff anything at all for the services
  7
      Plaintiff had in good faith provided to the Defendant’s insureds.” (Compl ¶ 7, emphasis
  8
      added). Every claim at issue in the present suit is one where the Plaintiff received an
  9
      assignment of benefits and where benefits were denied in toto. This gives rise both to a
 10
      cause of action under ERISA as well as an independent, state causes of action. See, for
 11
      example, Blue Cross of California v. Anesthesia Care Assocs. Med. Grp., Inc., 187 F.3d
 12
      1045, 1052 (9th Cir. 1999) (“we find no basis to conclude that the mere fact of
 13
      assignment converts the Providers' claims into claims to recover benefits under the
 14
      terms of an ERISA plan.”); Catholic Healthcare W.-Bay Area v. Seafarers Health &
 15
      Benefits Plan, 321 F. App'x 563, 564 (9th Cir. 2008) (“where a third party medical
 16
      provider sues an ERISA plan based on contractual obligations arising directly between
 17
      the provider and the ERISA plan (or for misrepresentations of coverage made by the
 18
      ERISA plan to the provider), no ERISA-governed relationship is implicated and the
 19
      claim is not preempted”); Port Med. Wellness, Inc. v. Connecticut Gen. Life Ins. Co.,
 20
      233 Cal. Rptr. 3d 830, 848–49 (Ct. App. 2018) (“where a plan assures a provider that a
 21
      proposed treatment is covered under the plan but later determines it is not covered, the
 22
      provider may sue based upon the plan's independent promise to the provider to pay for
 23
      the services rendered.”)
 24
             As to this first cause of action, Plaintiff seeks only to enforce participants’ rights
 25
      under ERISA, 29 U.S.C. § 1132(a)(1)(B) as the assignee of the insureds. It is well-
 26
      established in this Circuit that a Provider may assert a derivative ERISA claim as an
 27
      assignee. See DaVita, Inc. v. Amy's Kitchen, Inc., No. 18-CV-06975-JST, 2019 WL
 28
      1509186, at *4 (N.D. Cal. Apr. 5, 2019) (“Under the civil enforcement provisions of


                                                                   -5-
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 11 of 29 Page ID #:171



  1
      ERISA, a valid assignment confers standing on the assignee to sue in the place of the
  2
      assignor.) Catholic Healthcare W.-Bay Area v. Seafarers Health & Benefits Plan, 321
  3
      F. App'x 563, 564 (9th Cir. 2008) (“St. Mary’s could have brought an ERISA claim
  4
      derivatively as an assignee”). The assignments specifically state that they extend to “all
  5
      judicial reviews under ERISA and any applicable federal or state laws.” (Compl. ¶7,
  6
      Compl. Exhibit “B”). This litigation is clearly, therefore, within the scope of the
  7
      assignment.
  8
             Defendant also cites to Simi Surgical Ctr., Inc v. Connecticut Gen. Life Ins. Co.,
  9
      2018 WL 6332285 (C.D. Cal. Jan. 4, 2018) and Forest Ambulatory Surgical Assocs.,
 10
      L.P. v. United HealthCare Ins. Co., 2011 WL 2748724 (N.D. Cal. July 13, 2011),
 11
      alleging that Plaintiff has not sufficiently alleged facts that establish the existence of an
 12
      ERISA plan. (Def. Mot. Pg. 3-4, Ln. 27-4). Defendant argues that Plaintiff is required
 13
      to assert which of the 106 insureds were subject to ERISA plans and to cite specific
 14
      terms from the plans (Def. Mot. Pg. 4 Ln. 5-7), effectively claiming that the Plaintiff is
 15
      required to specifically quote chapter and verse from the insureds’ policies.
 16
             Defendant seems to have ignored the language in Forest from the same page cited
 17
      by Defendant that states, “A plan is established if a reasonable person “can ascertain
 18
      the intended benefits, a class of beneficiaries, the source of financing, and procedures
 19
      for receiving benefits.” Id. at 5; see also, Almont Ambulatory Surgery Ctr., LLC v.
 20
      UnitedHealth Grp., Inc., 99 F. Supp. 3d 1110, 1155 (C.D. Cal. 2015). In Forest the
 21
      complaint made only conclusory allegations. By contrast, in the present case, Plaintiff
 22
      makes specific claims in the Complaint:
 23
         • “Plaintiff verified all benefits and obtained authorization for all treatment, as
 24
             required and directed by Defendants. In all cases Plaintiff was directly informed
 25
             that the policies provided and Defendants would pay for treatment at the Usual,
 26
             Customary and Reasonable (“UCR”) rate.” ¶7
 27

 28




                                                                   -6-
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 12 of 29 Page ID #:172



  1
         • “Prior to the admittance of each CIGNA patient to a facility, Plaintiff contacted
  2
             Defendant at the number listed on each patient’s insurance card to conduct a
  3
             Verification of Benefits (“VOB”) call” ¶13
  4
         • “On each VOB call, Plaintiff’s representative confirmed with agents of
  5
             Defendant … whether patient was eligible for benefits, the reimbursement rate at
  6
             which Defendants would pay out-of-network mental health and substance use
  7
             disorder (SUD) services to Plaintiff.” ¶13
  8
         • Plaintiff’s Utilization Review (“UR”) team would routinely call CIGNA (at
  9
             specific intervals for each patient as requested by CIGNA) to receive
 10
             authorization to continue providing services to that patient. Plaintiff’s UR team
 11
             member would call Defendant’s Utilization Management (“UM”) agents, timely
 12
             submit any requested medical records or information, and receive pre-
 13
             authorization and/or pre-certification to continue services. Defendants’ agents
 14
             would then issue authorization reference numbers which Plaintiff would later
 15
             include on invoices to CIGNA. ¶15
 16
             This more than meets the requirements as set forth in Forest. A “reasonable
 17
      person” can clearly determine that Plaintiff is seeking payment on behalf the insureds
 18
      for benefits owed for treatment of SUD’s from Defendant and that Plaintiff followed
 19
      the very procedures and processes created by Defendant to do so. Further, Plaintiff has
 20
      offered to provide personal, confidential HIPAA protected information in a nonpublic,
 21
      confidential manner or under seal in this Court. (Compl. ¶17).
 22
             Other courts have held that relatively general allegations are sufficient to assert
 23
      entitlement under ERISA. See, for example, Encompass Office Sols., Inc. v. Ingenix,
 24
      Inc., 775 F. Supp. 2d 938, 947 (E.D. Tex. 2011). Further, in Forest, the court states,
 25
      “the allegations in the complaint do not need to describe a given plan in detail, such as
 26
      to identify each plan's policy number, the allegations must be sufficient to raise the
 27
      existence of an ERISA plan above [a] speculative level” (quoting In re Managed Care
 28
      Litigation, 2009 WL 742678 at *3 (S.D.Fla. Mar.20, 2009)). Just as the complaint does


                                                                   -7-
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 13 of 29 Page ID #:173



  1
      not have to include the policy number, it does not have to quote the specific policy
  2
      language at issue. In the Complaint, Plaintiff has alleged “thousands of VOB and
  3
      authorization calls” (¶14) and offered to provide to Defendants with an unedited
  4
      schedule of authorized yet still owed amounts (¶17). Thus, the existence of the plan
  5
      term that entitles Plaintiff to benefits has been more than sufficiently alleged and is far
  6
      more than “speculative.”
  7
             The cases cited by Defendant, Forest and Simi, actually support Plaintiff’s
  8
      position. Simi cites to Almont Ambulatory Surgery Ctr., LLC v. UnitedHealth Grp., Inc.,
  9
      99 F. Supp. 3d 1110 (C.D. Cal. 2015) approvingly where the court held it was a “close
 10
      call” and gave plaintiff leave to amend to plead that “the terms of the plan: (1) provide
 11
      coverage for each of the procedures at issue in this case; and (2) dictate that these
 12
      covered services would be paid according to a specific reimbursement rate..., which
 13
      must be specified.” Simi at *3. Plaintiff has met this standard.
 14
             Defendant’s claim that “Bristol’s deficient allegations make it impossible to
 15
      determine whether Bristol exhausted internal review procedures as required by ERISA”
 16
      (Def. Mot. Pg. 4, Ln 18-20) is similarly without merit. The claims in this matter have
 17
      been the subject of ongoing negotiations and correspondence between BRISTOL and
 18
      CIGNA for some time and Plaintiff was still actively following up on the non-payments
 19
      which are the subject of this lawsuit until shortly before Plaintiff was forced to file its
 20
      petition for bankruptcy.
 21
             Further, CIGNA’s brief half-heartedly tries to argue that BRISTOL may have
 22
      failed to exhaust its administrative remedies under ERISA. However, there has never
 23
      been an adverse benefit determination from which Plaintiff could pursue administrative
 24
      remedies. Under ERISA, a denial, or adverse benefit determination, that would trigger
 25
      pursuit of remedies would be timely (within 45 days at most) and contain precise
 26
      language describing the determination as well as notice of appeal rights. Here, CIGNA
 27
      has provided nothing of the sort. Absent a timely and formal denial, claimants under
 28




                                                                   -8-
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 14 of 29 Page ID #:174



  1
      ERISA are deemed to have exhausted their administrative remedies may pursue a civil
  2
      action. See 29 C.F.R. § 2560.503-1(l)(i) (2018).
  3
             For all of the reasons described above, Plaintiff has brought valid ERISA claims
  4
      and Defendant’s motion should be denied.
  5
                 V. THE FRAUD-BASED CLAIMS ARE PROPERLY PLEAD
  6
             Plaintiffs’ third cause of action for intentional misrepresentation, fourth cause of
  7
      action for negligent misrepresentation, fifth cause of action for fraudulent concealment,
  8
      and sixth cause of action for negligent failure to disclose are all based on the factual
  9
      allegations in the sixth and eight paragraphs of the complaint, including the allegations
 10
      that CIGNA agreed/represented that it would pay UCR when it knew that it would pay
 11
      different, lower, after the fact negotiated amounts.
 12
             Claims sounding in fraud are subject to the pleading requirements of Federal
 13
      Rule of Civil Procedure 9(b). Bly-Magee v. California, 236 F.3d 1014, 1018 (9th Cir.
 14
      2001). Under the federal rules, a plaintiff alleging fraud “must state with particularity
 15
      the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). To satisfy this standard, the
 16
      allegations must be “specific enough to give defendants notice of the particular
 17
      misconduct which is alleged to constitute the fraud charged so that they can defend
 18
      against the charge and not just deny that they have done anything wrong.” Semegen v.
 19
      Weidner, 780 F.2d 727, 731 (9th Cir. 1985).
 20
             The complaint does this. Paragraph 12 alleges that the VOB process was done as
 21
      directed and required by Defendants and that Defendants informed SURE HAVEN that
 22
      it would be compensated at the UCR. Paragraph 13 identifies four of the CIGNA
 23
      representatives who made these representations during the VOB calls and paragraph 14
 24
      provides the details of these calls and that on behalf of CIGNA, these representatives
 25
      stated that CIGNA would pay UCR. Paragraph 15 identifies post-admission
 26
      authorization calls where these same representations were made. Exhibit C to the
 27
      complaint provides identifying information for each of the patients/insureds with
 28
      pending claims.


                                                                   -9-
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 15 of 29 Page ID #:175



  1
             Reference to California law is helpful and consistent with Federal law. In Tenet
  2
      Healthsystem Desert, Inc. v. Blue Cross of California (2016) 245 CA4th 821, at pages
  3
      837-838 the court discussed the exception to the general rule of specific fraud pleading
  4
      when a Defendant has the operative information concerning the alleged fraud, stating
  5
      as follows:
  6
                     “There exist, however, "certain exceptions which mitigate the
  7            rigor of the rule requiring specific pleading of fraud." (Committee on
  8            Children's Television, supra, 35 Cal.3d at p. 217.) For example, less
               specificity is required of a complaint when " 'it appears from the nature
  9
               of the allegations that the defendant must necessarily possess full
 10            information concerning the facts of the controversy, ' [citation]; '[e]ven
 11
               under the strict rules of common law pleading, one of the canons was
               that less particularity is required when the facts lie more in the
 12            knowledge of the opposite party....' " (Ibid.)”
 13

 14
             Tenet is similar to this case in that it involved a demurrer to an amended
 15
      complaint in which a health care provider was asserting various fraud causes of action

 16
      based on preadmission verification of benefit conversations. In that case, the trial court
 17
      had sustained Anthem’s demurrer to causes of action for intentional fraud and causes
 18
      of action for negligent misrepresentation without leave to amend. The Court of Appeal

 19
      reversed, observing at page 839:
 20
                “In addition, the trial court failed to consider that a cause of action based
               in fraud may arise from conduct that is designed to mislead, and not only
 21            from verbal or written statements. (See Thrifty-Tel, Inc. v.
 22            Bezenek (1996) 46 Cal.App.4th 1559, 1567 [54 Cal.Rptr.2d 468] ["A
               misrepresentation need not be oral; it may be implied by
 23
               conduct."]; Universal By-Products, Inc. v. City of Modesto (1974) 43
 24            Cal.App.3d145, 151 [117 Cal.Rptr. 525] ["A misrepresentation need not
 25
               be express but may be implied by or inferred from the circumstances."].)
               …”
 26

 27          In Tenet the court also stated at page 840:
 28                  “Anthem suggests that Hospital's TAC is insufficient because it
               does not identify each individual and defendant entity who is alleged to

                                                                  - 10 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 16 of 29 Page ID #:176



  1
               have engaged in communications with Hospital regarding Patient X's
  2            care. To the extent that Hospital may he relying on the communications
               it received from unnamed case managers at Anthem, Hospital provided
  3
               sufficient information to permit Anthem, the party with superior
  4            knowledge of who was responsible for preparing the documents in
  5
               question, to identify the specific individual or individuals; Hospital is
               relieved from having to plead that particular information with specificity
  6
               under such circumstances…”
  7

  8          It is respectfully submitted that CIGNA knows exactly the factual basis for the
  9   fraud causes of action asserted against it and that those causes of action are factually
 10   and legally supported by the allegations of the complaint. By way of example, CIGNA
 11   is, or should be in possession of notes, tapes and/or transcripts of tapes of the VOB
 12   conversations which would confirm that it represented to SURE HAVEN that
 13   reimbursement would be based on the UCR.
 14      VI. THE NEGLIGENT NONDISCLOSURE CLAIM IS APPROPRIATE
 15          The Ninth Circuit has held that Rule 9(b) does not apply to claims for negligent
 16   failure to disclose. Vess v.Ciba-Geigy Corp. USA, 317 F. 3d 1097, 1106 (9th Cir. 2003).
 17   As to the merits of the negligent nondisclosure cause of action allegations, Plaintiff
 18   respectfully refers to the discussion in the directly preceding point above.
 19    VII. THE PROMISSORY ESTOPPEL CLAIM IS LEGALLY SUFFICIENT
 20          Under the equitable doctrine of promissory estoppel, “a promisor is bound when
 21   he should reasonably expect a substantial change of position, either by act or
 22   forbearance, in reliance on his promise, if injustice can be avoided only by its
 23   enforcement.” Youngman v. Nevada Irrigation Dist., 70 Cal. 2d 240, 249 (1969);
 24   accord Kajima/Ray Wilson v. L.A. Cnty. Metro. Transp. Auth., 23 Cal. 4th 305, 310
 25   (2000). The elements of the claim are: “(1) a promise, (2) the reasonable expectation
 26   by the promisor that the promise will induce reliance or forbearance, (3) actual reliance
 27   or forbearance, and (4) the avoidance of injustice by enforcing the promise.” Fleet v.
 28   Bank of Am N.A., (2014) 229 Cal App 4th 1403, 1412.


                                                                  - 11 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 17 of 29 Page ID #:177



  1
             Plaintiff argues and pleads that the verification and authorization
  2
      communications that occurred in factual circumstances like this case constitute an
  3
      appropriate predicate for promissory estoppel. See, e.g., Regents of the Univ. of Cal.
  4
      v. Principal Fin. Grp., 412 F. Supp. 2d 1037, 1042 (N.D. Cal. 2006) (concluding that
  5
      insurer demonstrated intent to be bound to pay health care provider because insurer
  6
      verified coverage and authorized treatment on multiple occasions); Enloe Med. Ctr. v.
  7
      Principal Life Ins. Co., No. CIV S-10-2227 KJM-DAD, 2011 WL 6396517 at *6 (E.D.
  8
      Cal. Dec. 20, 2011) (noting that courts diverge on whether treatment authorization
  9
      evinces a promise to pay and stating that “in some instances, a contract may be created
 10
      on an authorization call”).
 11
             In this case, the only issue is the amount of payment, not authorization for the
 12
      services. In all of the claims the authorization for services and/or medical necessity of
 13
      those services is not in dispute, only the payment amount. The complaint does not base
 14
      the promissory estoppel cause of action on promises made in the insurance contracts,
 15
      but rather the promises made in the preadmission VOB communications. CIGNA
 16
      should be estopped from paying anything other than the represented UCR.
 17
          VIII. THE CLAIM FOR UNFAIR BUSINESS PRACTICES IS VALID.
 18
             CIGNA claims that the UCL cause of action for violation of California’s unfair
 19
      competition law, set forth in Business and Professions Code §§ 17200, et seq. fails to
 20
      satisfy any of the three prongs of California’s UCL.
 21
             The UCL prohibits unlawful, unfair, and fraudulent business practices. A
 22
      “business practice need only meet one of the three criteria to be considered unfair
 23
      competition.” McKell v. Washington Mut. Inc. (2006) 142 Cal. App. 4th 1457, 1471.
 24
             Defendant suggests that the UCL claims are inadequate because they do not show
 25
      a statutory violation of any type. However, the allegations of the FAC establish that
 26
      Defendant violated California Health & Safety Code section 1371.8 and pleads requisite
 27
      facts to establish Defendants violation of California’s mental health parity laws,
 28




                                                                  - 12 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 18 of 29 Page ID #:178



  1
      including but not limited to California Health & Safety Code section 1374.72 and
  2
      California Insurance Code section 10144.5.
  3
             The complaint clearly satisfies the fraud prong of a UCL claim in that it pleads
  4
      multiple fraud causes of action showing that CIGNA has engaged in a fraudulent
  5
      business practice. “A fraudulent business practice is one in which members of the
  6
      public are likely to be deceived.” Morgan v. AT&T Wireless Servs., Inc., 177 Cal. App.
  7
      4th 1235, 1254 (2009) (citation and internal quotation marks omitted). To be actionable
  8
      under the UCL, a representation may be untrue, or it “may be accurate on some level,
  9
      but will nonetheless tend to mislead or deceive.” McKell, 142 Cal. App. 4th at 1471.
 10
      “A perfectly true statement couched in such a manner that it is likely to mislead or
 11
      deceive the consumer, such as by failure to disclose other relevant information, is
 12
      actionable under” the UCL. Id. (citation omitted).
 13
             BRISTOL alleges that CIGNA deceptively induced SURE HAVEN to provide
 14
      treatment to their insureds. Through CIGNA’s course of conduct, including its
 15
      confirmation of coverage and authorization of treatment, SURE HAVEN was
 16
      encouraged to provide treatment and misled by CIGNA into believing that it would be
 17
      reimbursed for their services. CIGNA did not disclose relevant information, namely,
 18
      that it would refuse to fully pay based on the UCR. These allegations are sufficient to
 19
      state a claim for deceptive business practices.
 20
             CIGNA claims that UCL claim is invalid because it was assigned, citing
 21
      Amalgamated Transit Union, Local 1756, AFL-CIO v. Superior Court, 46 Cal. 4th 993,
 22
      1002 (2009) which held that the UCL claim in that case could not be assigned to an
 23
      uninjured assignee. Amalgamated doesn’t discuss if any consideration was paid for the
 24
      assignment. In this case, BRISTOL is a successor entity to SURE HAVEN, and is
 25
      comprised of individuals who were also formerly part of SURE HAVEN who suffered
 26
      significant injury in fact due to the nonpayment of claims by CIGNA which forced
 27
      SURE HAVEN out of business. BRISTOL then paid significant consideration for the
 28
      assignment of the claims which was also for the benefit of SURE HAVEN’S creditors.


                                                                  - 13 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 19 of 29 Page ID #:179



  1
             CIGNA also claims the complaint does not properly allege a request for equitable
  2
      relief. The issue of restitution under the UCL law has been discussed in the context of
  3
      standing and available monetary remedies-restitution/restoration. Because of the
  4
      definitional language used, the discussion regarding standing is relevant to this motion.
  5
             In Allergan Inc. v. Athena Cosmetics Inc. (Fed. Cir 2011) 640 F3d. 1377, at pages
  6
      1381-1382, the court discussed the concept of damages in the context of determining
  7
      standing to bring a UCL case, stating as follows:
  8
                “After Proposition 64 was adopted, both state and federal California
  9            courts interpreted the limitation of standing under section 17204 to mean
 10            that the money or property lost by individuals alleging unfair
               competition must be " eligible for restitution." Buckland v. Threshold
 11
               Enters., Ltd., 155 Cal.App.4th             798, 817, 66       Cal.Rptr.3d
 12            543 (2008) overruled by Kwikset, 120 Cal.Rptr.3d 741, 246 P.3d at
 13
               895; see also Walker v. Geico Gen. Ins. Co., 558 F.3d 1025, 1027 (9th
               Cir.2009); Walker v. USAA Cas. Ins. Co., 474 F.Supp.2d 1168, 1173
 14            (C.D.Cal.2007); Citizens, 171 Cal.App.4th at 22, 89 Cal.Rptr.3d 455.
 15            This conclusion rested on connecting the " lost money or property"
               language in section 17204 with the language in section 17203 that
 16
               allowed restitution " as may be necessary to restore any person in
 17            interest any money or property." The use of money or property in both
               sections led courts to conclude that section 17204 limited standing to
 18
               those who had an injury compensable by restitution. See,
 19            e.g., Buckland, 155 Cal.App.4th at 817-18, 66 Cal.Rptr.3d 543.
 20
                     In its most recent decisions, the California Supreme Court has
 21            rejected this reasoning. It concluded in Kwikset and Clayworth that "
               ineligibility for restitution is not a basis for denying standing under
 22
               section        17204         and       disapprove[d]      those       cases
 23            [including Citizens and Buckland ]           that     have       concluded
 24
               otherwise." Kwikset, 120 Cal.Rptr.3d 741, 246 P.3d at 895.
               In Kwikset, the court held that to satisfy the standing requirements of
 25            section 17204, a plaintiff must allege exactly what the statutory text
 26            requires: " (1) ... a loss or deprivation of money or property sufficient to
               qualify as injury in fact, i.e. economic injury, and (2) ... that [the]
 27
               economic injury was the result of, i.e. caused by, the unfair business
 28            practice...." Id., 120 Cal.Rptr.3d 741, 246 P.3d at 885.”


                                                                  - 14 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 20 of 29 Page ID #:180



  1
             Plaintiff is asking for payment from Defendant for the represented UCR amount.
  2
      However, under existing case law on the issue of standing to bring an UCL claim, the
  3
      California Supreme Court has made it clear that the requisite harm, i.e. injury in fact,
  4
      can be an economic injury caused by the unfair business practice for which a
  5
      restitutionary remedy is available. In addition to the standing issue discussed above, the
  6
      California Supreme Court has also discussed and defined “restitution” broadly to
  7
      include the payment of unpaid wages.
  8
      In this case, BRISTOL alleges that Defendants withheld funds from SURE HAVEN for
  9
      treatment services that were provided to the insureds of Defendants based on the VOB
 10
      representations and authorizations. It is respectfully submitted that as to the issue of
 11
      restitutionary remedies, this situation is analogous to Cortez v. Purolator Air Filtration
 12
      Products Co. (2000) 23 Cal 4th 163, 177-178, wherein the court decided the issue of
 13
      whether payment of withheld wages was restitutionary in nature, holding that an order
 14
      to pay earned wages is “…a restitutionary remedy authorized by the UCL.” Here, the
 15
      reality is that both SURE HAVEN and BRISTOL have suffered significant economic
 16
      harm for which BRISTOL seeks the available restitutionary remedy of payment of the
 17
      represented/agreed amount which has been wrongfully withheld.
 18
          IX. THE BREACH OF CONTRACT CLAIMS STATE VALID CLAIMS.
 19
             The second cause of action for breach of oral contract and the tenth cause of
 20
      action for breach of implied contract both allege breach of contract claims based on the
 21
      preadmission VOB process (not the insurance policies/plans) wherein CIGNA
 22
      consistently specifically stated/agreed that it would pay based on the UCR. The eleventh
 23
      cause of action is based on the written insurance plans/policies issued to the
 24
      patients/insureds and is completely separate and distinct from the oral and implied VOB
 25
      contract claims.
 26
             CIGNA has lumped all three breach of contract claims together in its points and
 27
      authorities in support of its motion. Plaintiff will treat them separately, first addressing
 28
      the implied and oral contract claims based on the VOB process.


                                                                  - 15 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 21 of 29 Page ID #:181



  1
             Under California law, verification and authorization communications that occur
  2
      in factual circumstances like this case constitute an appropriate predicate for an
  3
      agreement and/or promissory estoppel. See, e.g., Regents of the Univ. of Cal. v.
  4
      Principal Fin. Grp., 412 F. Supp. 2d 1037, 1042 (N.D. Cal. 2006) (concluding that
  5
      insurer demonstrated intent to be bound to pay health care provider because insurer
  6
      verified coverage and authorized treatment on multiple occasions); Enloe Med. Ctr. v.
  7
      Principal Life Ins. Co., No. CIV S-10-2227 KJM-DAD, 2011 WL 6396517 at *6 (E.D.
  8
      Cal. Dec. 20, 2011) (noting that courts diverge on whether treatment authorization
  9
      evinces a promise to pay and stating that “in some instances, a contract may be created
 10
      on an authorization call”).
 11
             At page 11, lines 16-24, CIGNA argues that the oral and implied contract causes
 12
      of action are deficient because they do not state a “specified rate”, and in support of its
 13
      position cites Pacific Bay Recovery, Inc. v. California Physicians Services, Inc. (2017)
 14
      12 Cal.App. 5th 200 and Orthopedic Specialists of Southern California v. CALPERS
 15
      228 Cal.App.4th 644 (2014), both of which are distinguishable and inapplicable.
 16
             By representing that it would pay the UCR, a term of art in the industry, CIGNA
 17
      provided a recognized method by which the amount it would pay would be objectively
 18
      determined. For example, in California, Healthcare.gov. defines UCR as “The amount
 19
      paid for a medical service in a geographic area based on what providers in the area
 20
      usually charge for the same or similar medical service. The UCR amount sometimes is
 21
      used to determine the allowed amount.”
 22
             UCR is a certain and well-known term, and analogous to the concept of Fair
 23
      Market Value in the real estate or other industries. In Goodwest Rubber Corp. v. Munoz
 24
      (1985) 170 Cal. App. 3d 919, 921, the court held that “Fair Market Value” was a certain
 25
      enough price or method to determine consideration to support an action for specific
 26
      performance.
 27
             Even if there was a legitimate question about using the UCR as the method to
 28
      ascertain the payment amount, California Civil Code section 1611 would apply to fix


                                                                  - 16 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 22 of 29 Page ID #:182



  1
      the payment amount/consideration at what SURE HAVEN’s services were “reasonably
  2
      worth”. (A close reading of Civil Code section 1611 shows that it implicitly recognizes
  3
      that a contract’s consideration can be either a specified amount or ascertained by an
  4
      appropriate methodology).
  5
             CIGNA relies on Pacific Bay Recovery, Inc. v. California Physicians Services,
  6
      Inc. (2017) 12 Cal.App. 5th 200. In that case, the Court of Appeal rejected the substance
  7
      abuse provider’s argument that it was entitled to be compensated based on the UCR.
  8
      However, Pacific Bay is completely different from this case. It was a case in which the
  9
      provider questionably attempted to rely on inapplicable Knox Keene act provisions
 10
      allowing emergency providers to receive the UCR, even though the services Pacific Bay
 11
      provided were not emergency services.
 12
             In Pacific Bay, as to the allegations of what Blue Shield represented, Pacific Bay
 13
      alleged only that Blue Shield would pay for the services. It did not allege that it was
 14
      told it would receive the UCR, only that it “was led to believe it ‘would be paid a portion
 15
      or percentage of its total billed charges, which charges correlated with usual, reasonable
 16
      and customary charges’” (Id., at 216).
 17
             CIGNA’s reliance on Orthopedic Specialists of Southern California v. CALPERS
 18
      228 Cal.App.4th 644 (2014) is misplaced as in that case the provider did not allege
 19
      misrepresentation claims, and only plead that it “was led to believe” it would be paid
 20
      its billed amount or UCR (Id., at page 646). In this case, the complaint alleges fraud
 21
      claims and that SURE HAVEN was told it would be paid based on the UCR. More
 22
      importantly, the ruling in Orthopedic Specialists was based on the fact that as a public
 23
      entity, Defendant CALPERS could not have an oral or implied contract enforced against
 24
      it per California Government Code section 815(a). Id. at page 650.
 25
             CIGNA suggests that the tenth cause of action for breach of implied contract
 26
      cannot coexist with the second cause of action for breach of oral contract. Federal Rule
 27
      of Civil Procedure 8 explicitly allows Plaintiff to plead different theories of relief in the
 28
      alternative, even if those theories are inconsistent. Fed.R. Civ. P. 8(d) (“A party may


                                                                  - 17 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 23 of 29 Page ID #:183



  1
      set out 2 or more statements of a claim or defense alternatively or hypothetically…A
  2
      party may state as many separate claims or defenses as it has, regardless of
  3
      consistency.”). Thus, courts routinely allow plaintiffs to plead both express contract and
  4
      implied contract theories, as long as those theories are pled in the alternative. See, e.g.,
  5
      SocialApps, LLC v. Zynga, Inc., 2012 WL 381216, at *3 (N.D. Cal. Feb. 6, 2012)
  6
      (“While the allegations of the implied contract claim rely on the same allegations as the
  7
      express contract claim, SA is entitled to plead different theories of recovery in the
  8
      alternative.”).
  9
             As to the breach of written insurance contract cause of action plead in the
 10
      alternative, Plaintiff has provided the necessary information for CIGNA to reference
 11
      the applicable plans/policies. It should be noted that as is plead in paragraph 11 of the
 12
      complaint, these are insurance policies or plans that CIGNA drafted and provides
 13
      administrative services for (and in some cases is probably the direct issuer of the policy).
 14
      It is not unaware of the terms and conditions of these plans/policies and it probably
 15
      doesn’t make sense to have a 106 lengthy insurance contracts attached to a pleading
 16
      when there is really no point in it.
 17
       X. THE BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
 18
                                         DEALING CLAIM IS VALID
 19
             Defendant claims the twelfth cause of action for breach of the implied covenant
 20
      of good faith and fair dealing allegations are insufficient. Defendants’ position is
 21
      incorrect. The twelfth cause of action incorporates the allegations in all the previous
 22
      paragraphs of the complaint, including the eleventh cause of action for breach of written
 23
      insurance contract which alleges that Defendants insureds/SURE HAVEN’S patients
 24
      were insured under plans/policies that obligated Defendants to pay an allowed amount
 25
      for substance abuse treatment services. That cause of action goes on to allege that
 26
      CIGNA refused to pay anything for the services (Compl. ¶¶ 69 & 70).
 27
             In addition to the allegations that CIGNA did not pay anything, paragraph 74 of
 28
      the twelfth cause of action alleges that CIGNA unreasonably withheld plan/policy


                                                                  - 18 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 24 of 29 Page ID #:184



  1
      benefits even though its obligation to pay the claims was clear. CIGNA has never denied
  2
      these claims or stated its reason for non-payment. This satisfies California law which
  3
      provides that withholding insurance benefits unreasonably or without proper cause
  4
      supports a first party insurance bad faith claim. Love v. Fire Insurance Exchange (1990)
  5
      221 Cal.App.3d 1136, 1151.
  6
             The Breach of the implied covenant of good faith and fair dealing cause of action
  7
      is supported by the incorporated allegations and its specific allegations including being
  8
      careful to assert the only assignable claim for that cause of action- recovery of attorney
  9
      fees incurred in collecting wrongfully withheld policy benefits pursuant to the
 10
      California Supreme in Brandt v. Superior Court (1985) 37 Cal. 3d 813 have been
 11
      assigned.
 12
                         XI. THE QUANTUM MERUIT CLAIM IS VALID.
 13
              “Quantum meruit refers to the well-established principle that ‘the law implies a
 14
      promise to pay for services performed under circumstances disclosing that they were
 15
      not gratuitously rendered.’” Huskinson & Brown, LLP v. Wolf, 32 Cal. 4th 453, 458
 16
      (2004) (citation omitted). The plaintiff “must show the circumstances were such that
 17
      ‘the services were rendered under some understanding or expectation of both parties
 18
      that compensation therefor was to be made.’” Id. (citation omitted).
 19
              Quantum meruit prevents precisely this kind of unjust enrichment by requiring
 20
      compensation when “‘[a] person confers a benefit upon another’ [by] ‘perform[ing]
 21
      services beneficial to or at the request of the other.’” Earhart v. William Low Co., 25
 22
      Cal. 3d 503, 510 (1979) (quoting Restatement of Restitution § 1 (1937)) (emphasis in
 23
      original). “The underlying idea behind quantum meruit is the law’s distaste for unjust
 24
      enrichment. If one has received a benefit which one may not justly retain, one should
 25
      ‘restore the aggrieved party to his [or her] former position by return of the thing or its
 26
      equivalent in money.’” Maglica v. Maglica, 66 Cal. App. 4th 442, 449 (1998), as
 27
      modified on denial of reh’g, (Sept. 28, 1998) (quoting 1 Witkin, Summary of California
 28
      Law, Contracts § 91, p. 122 (9th Ed. 1987)) (emphasis added). Quantum meruit


                                                                  - 19 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 25 of 29 Page ID #:185



  1
      embodies the quasi-contractual theory of restitution, which provides that a person must
  2
      “make restitution if he or she is unjustly enriched at the expense of another. . .. A person
  3
      is enriched if the person receives a benefit at another’s expense.” McBridev. Boughton,
  4
      123 Cal. App. 4th 379, 389 (2004) (citation omitted). As the California Supreme Court
  5
      has explained, a benefit means “any form of advantage” and is “conferred not only
  6
      when one adds to the property of another, but also when one saves the other from
  7
      expense or loss.” Ghirardo v. Antonioli, 14 Cal. 4th 39, 51 (1996).
  8
          XII. THE STATE LAW CLAIMS ARE NOT PREEMPTED BY ERISA
  9
             As a third-party to the contract between the insurer and insured, Plaintiff has
 10
      independent causes of action. Even when an assignment exists that permits a provider
 11
      to bring derivative claims under ERISA, that does not convert the provider’s third-part
 12
      claims to ERISA claims. See Blue Cross of California v. Anesthesia Care Assocs. Med.
 13
      Grp., Inc., 187 F.3d 1045, 1052 (9th Cir. 1999) (“we find no basis to conclude that the
 14
      mere fact of assignment converts the Providers’ claims into claims to recover benefits
 15
      under the terms of an ERISA plan.”).
 16
             When obligations are created directly between the provider and the insurer, even
 17
      when the insured is covered under an ERISA plan, the provider still has rights and
 18
      causes of action that are not preempted by ERISA. See Catholic Healthcare W.-Bay
 19
      Area v. Seafarers Health & Benefits Plan, 321 F. App'x 563, 564 (9th Cir. 2008)
 20
      (“where a third party medical provider sues an ERISA plan based on contractual
 21
      obligations arising directly between the provider and the ERISA plan (or for
 22
      misrepresentations of coverage made by the ERISA plan to the provider), no ERISA-
 23
      governed relationship is implicated and the claim is not preempted”); Port Med.
 24
      Wellness, Inc. v. Connecticut Gen. Life Ins. Co., 233 Cal. Rptr. 3d 830, 848–49 (Ct.
 25
      App. 2018) (“where a plan assures a provider that a proposed treatment is covered under
 26
      the plan but later determines it is not covered, the provider may sue based upon the
 27
      plan’s independent promise to the provider to pay for the services rendered.”)
 28




                                                                  - 20 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 26 of 29 Page ID #:186



  1
             Defendant’s motion seems to miss this nuance and conflates the different duties
  2
      that the various parties owe to each other. Defendant does not dispute that Plaintiff is
  3
      not a party to the insurance contract. An ERISA plan is a contract. Murphy v. California
  4
      Physicians Serv., 213 F. Supp. 3d 1238, 1246 (N.D. Cal. 2016).
  5
             The Supreme Court has established a clear, two-part test for determining whether
  6
      a state-law claim is completely preempted by ERISA’s civil enforcement provision: (1)
  7
      the plaintiff, “at some point in time, could have brought [the] claim under ERISA §
  8
      502(a)(1)(B),” and (2) “there is no other independent legal duty that is implicated by
  9
      [the] defendant’s actions.” Hansen v. Grp. Health Coop., 902 F.3d 1051, 1059 (9th Cir.
 10
      2018) citing Aetna Health Inc. v. Davila, 542 U.S. 200, 210 (2004).
 11
             Neither Davila prong is met with regard to the state-law causes of action brought
 12
      in Plaintiff’s complaint.
 13
             With regard to the first prong, as a third party non-plan member, the Plaintiff has
 14
      no inherent ability to bring a claim directly against the Defendant absent independent
 15
      cause. ERISA’s civil enforcement provision provides that a civil action may be brought
 16
      “by a participant or beneficiary” to “recover benefits due to him under the terms of his
 17
      plan, to enforce his rights under the terms of the plan, or to clarify his rights to future
 18
      benefits under the terms of the plan.” 29 U.S.C. § 1132(a)(1)(B). As a third party,
 19
      Plaintiff is neither a participant nor a beneficiary.
 20
             Plaintiff’s state law causes of action all arise under oral and implied contracts
 21
      between Plaintiff and Defendant. Amounts due under oral and implied contracts do not
 22
      satisfy the first prong of the Davila test. See Marin Gen. Hosp. v. Modesto & Empire
 23
      Traction Co., 581 F.3d 941, 948 (9th Cir. 2009).. As the patients are not parties to these
 24
      oral and implied contracts, they themselves cannot bring claims against the Defendants
 25
      for a breach of the oral and implied contracts. As the terms of these oral and/or implied
 26
      contracts cannot be asserted by the patients, they do not fall within § 502(a)(1)(B). See
 27
      Galileo Surgery Ctr., L.P. v. Aetna Health & Life Ins. Co., No. 2:14-CV-09747-ODW,
 28




                                                                  - 21 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 27 of 29 Page ID #:187



  1
      2015 WL 898466, at *3 (C.D. Cal. Mar. 3, 2015). Therefore, the first prong is not met
  2
      and Defendants’ motion should be denied.
  3
               As to the second prong, the controlling question is whether the claim relies on
  4
      the violation of a legal duty that arises independently of the plaintiff’s or assignor’s
  5
      ERISA plan. See Hansen v. Grp. Health Coop., 902 F.3d 1051, 1059 (9th Cir. 2018).
  6
      When there is a legal duty beyond that imposed by an ERISA plan, a claim based on
  7
      that duty is not completely preempted by ERISA. Id. The key to this inquiry is the origin
  8
      of the duty, not its relationship with health plans. Id. at 1060. When the duty is
  9
      independent of the specific rights established by the plan, the claim is not preempted.
 10
      Id.
 11
               In cases such as here, where a provider relies upon a promise of payment either
 12
      in the form of a written contract or otherwise, the Ninth Circuit has routinely help that
 13
      the second prong of Davila is not met when the providers are suing under those legal
 14
      obligations. See Marin Gen. Hosp. v. Modesto & Empire Traction Co., 581 F.3d 941
 15
      (9th Cir. 2009) (a telephone conversation gave rise to legal duties independent of the
 16
      terms of the employee benefits plan, so the hospital’s claims were ineligible for
 17
      preemption); Blue Cross of California v. Anesthesia Care Associates Medical Group,
 18
      Inc., 187 F.3d 1045 (9th Cir.1999) (holding that providers did not contend that Blue
 19
      Cross had violated the terms of an ERISA plan, but rather that it had breached a separate
 20
      contract). As in Marin and Anesthesia Care, the state law claims asserted here are
 21
      brought on behalf of provider-based duties created extrinsic to the ERISA plans, duties
 22
      that arose in VOB’s, authorization telephone calls, and implied-in-fact contracts arising
 23
      from Defendant’s prior course of dealing.
 24
               Defendant mischaracterizes Plaintiff’s complaint as relating solely to “unpaid
 25
      plan benefits” (Mot. Pg. 16, Ln 12-13). Plaintiff suffered harm by providing services in
 26
      reliance upon Defendant’s representations and good faith prior performance of its legal
 27
      duties, all separate and apart from the terms of its patients’ employers’ health plans
 28




                                                                    - 22 -
            __________________________________________________________________________________________________
              Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 28 of 29 Page ID #:188



  1
      (Complaint, Paragraphs 12, 16.) As such, Plaintiff’s state law claims are not preempted,
  2
      and Defendant’s motion should be denied.
  3
              XIII. PLAINTIFF SHOULD BE GRANTED LEAVE TO AMEND
  4
             Defendants argue that the complaint should be dismissed with prejudice. Not only
  5
      does that position assume the motion to dismiss is appropriate to all causes of action,
  6
      but it also runs contrary to well settled law regarding motions to dismiss.
  7
             If a Court determines that a complaint should be dismissed, it must then decide
  8
      whether to grant leave to amend. Under Rule 15(a) of the Federal Rules of Civil
  9
      Procedure, leave to amend “shall be freely given when justice so requires,” bearing in
 10
      mind “the underlying purpose of Rule 15 to facilitate decisions on the merits, rather
 11
      than on the pleadings or technicalities.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir.
 12
      2000) (en banc) (alterations and internal quotation marks omitted). When dismissing a
 13
      complaint for failure to state a claim, “a district court should grant leave to amend even
 14
      if no request to amend the pleading was made, unless it determines that the pleading
 15
      could not possibly be cured by the allegation of other facts.” Id. at 1130 (internal
 16
      quotation marks omitted). Accordingly, leave to amend generally shall be denied only
 17
      if allowing amendment would unduly prejudice the opposing party, cause undue delay,
 18
      or be futile, or if the moving party has acted in bad faith. Leadsinger, Inc. v. BMG Music
 19
      Publ’g, 512 F.3d 522, 532 (9th Cir. 2008).
 20
                                               XIV. CONCLUSION
 21
             By reason of the foregoing, it is respectfully submitted that the motion to dismiss
 22
      should be denied. If the court is inclined to sustain any part of the motion, Plaintiff
 23
      respectfully requests leave to amend.
 24

 25
                                              [Signature page follows]
 26

 27

 28




                                                                  - 23 -
          __________________________________________________________________________________________________
            Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
Case 8:19-cv-00709-PSG-ADS Document 21 Filed 06/28/19 Page 29 of 29 Page ID #:189



  1
      Dated: June 28, 2019                                       NAPOLI SHKOLNIK PLLC
  2
                                                                 /s/ Matthew M. Lavin
  3                                                              MATTHEW M. LAVIN
                                                                 JENNIFER LIAKOS
  4

  5
                                                                 LAW OFFICE OF JOHN W. TOWER
  6
                                                                 /s/ John W. Tower
  7                                                              JOHN W. TOWER
  8
                                                                 Attorneys for Plaintiff
  9
                                                                 Bristol SL Holdings, Inc.
 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28




                                                                 - 24 -
         __________________________________________________________________________________________________
           Points and Authorities in Opposition to Motion to Dismiss – BRISTOL v. CIGNA Case No. 8:19-cv-00709-AG-ADS
